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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  K.C., et al.,                    )
                                   )
       Plaintiffs,                 )
                                   )
              v.                   )                   No. 1:23-cv-00595-JPH-KMB
                                   )
  THE INDIVIDUAL MEMBERS OF THE )
  MEDICAL LICENSING BOARD, et al., )
                                   )
       Defendants.                 )

                                               Order

            The parties, having filed their Motion to Adjourn Additional Case Management

  Deadlines, and the Court having read the motion and being duly advised, finds that good

  cause exists to grant the motion and

            IT IS THEREFORE ORDERED that the following new deadlines are established in

  this case, in addition to the case management deadlines recently established at dkt. 122:

        •   Statement of claims or defenses are to be filed by June 10, 2024.

        •   All expert discovery shall be completed by November 5, 2024.


              Date: 2/27/2024




  To:       All ECF-registered counsel of record
